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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                        )
                                                        )     Chapter 11
 In re:                                                 )
                                                        )
 PES HOLDINGS, LLC, et al                               )     Case No. 19-11626 (LSS)
                                                        )
                                Debtors.                )
                                                        )     (Jointly Administered)
                                                        )
                                                        )
 PES HOLDINGS, LLC, et al                               )
                                                        )
                                Plaintiffs,             )     Adversary Proceeding
                                                        )
                                v.                      )
                                                        )     Adv. No. 20-50454 (LSS)
 ALLIANZ GLOBAL RISKS US INSURANCE                      )
 CO., et al.                                            )
                                                              Re: Adv. Docket No. 95, 141, 178
                                                        )
                                Defendants
                                                        )
                                                        )

                              FOURTH AMENDED SCHEDULING ORDER

          To promote the efficient and expeditious disposition of adversary proceedings, the

following schedule shall apply to each of the above-captioned adversary proceedings.

          IT IS HEREBY ORDERED that:

          1.        Fact Discovery Cut-Off. All fact discovery will be completed on or before May

17, 2021; provided, however, that solely with respect to the depositions of Stephanie Eggert, Ajay

Ramesh, and John Sitler in relation to Defendants’ Notice of 30(b)(6) Deposition to the PES

entities dated March 10, 2021, the deposition of Jeffrey Stein and Mark Smith, the depositions of

Insurers’ 30(b)(6) witnesses located in Switzerland, and the 30(b)(6) witness designated by

Standard Syndicate No. 1884 and Renaissance Re Syndicate Management Ltd. on behalf of

Syndicate 1458 regarding topics 1 and 2, discovery will be completed on or before May 31, 2021


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to accommodate these witnesses. Unless otherwise ordered by the Court or agreed to by the

parties, pursuant to Local Rule 7016-1(b)(ii), the limitations on discovery set forth in District Court

Local Rule 26.1 shall be strictly observed. The parties have agreed to expand the number of

depositions beyond the 10 provided for in the Federal Rule of Civil Procedure due to the number

of parties and the complexity of the issues. Any dispute regarding the final number of depositions

shall be subject to a meet and confer between the parties and, if necessary, a motion with the Court.

          2.        Disclosure of Expert Testimony. The parties shall serve their initial Federal Rule

of Civil Procedure 26(a)(2) disclosures of expert testimony on or before June 7, 2021, for any issue

on which they bear the burden of proof. If applicable, the parties shall serve a supplemental

disclosure to contradict or rebut evidence on the same subject matter identified by another party

on or before July 8, 2021. If a party deems necessary, the party shall serve a supplemental reply

to contradict or rebut evidence on the same subject matter identified by another parties’ rebuttal

expert reports on or before August 12, 2021. All reports shall provide the information required by

Fed.R.Civ.P. 26(a)(2)(B).

          3.        Expert Discovery Cut-Off. All expert discovery, including depositions, will be

completed on or before October 15, 2021.

          4.        Dispositive Motion Deadline. Pursuant to Local Rule 7007-1, the following

deadlines shall apply to the filing and briefing of dispositive motions: All dispositive motions shall

be filed and served on September 20, 2021. Opposition papers shall be filed and served on October

27, 2021. Reply papers shall be filed and served on November 12, 2021.

          5.        Expert Motion Deadline. The following deadlines shall apply to the filing and

briefing of motions related to the exclusion of expert testimony: All expert motions shall be filed




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and served November 12, 2021. Opposition papers shall be filed and served December 10, 2021.

Reply papers shall be filed and served December 20, 2021.

          6.        Pretrial Exchanges.   The parties shall exchange exhibit lists and affirmative

deposition designations that each party intends to offer at trial and identify, on a “will call” or

“may call” basis, the names of all witnesses each party intends to call to testify, and state whether

in person or by deposition, at the trial and the specialties of experts to be called as witnesses for

trial by no later than November 2, 2021. By no later than November 23, 2021, the parties shall

exchange any counter-deposition designations and rebuttal exhibit lists, as well as any objections

to an opposing party’s deposition designations or exhibits, which shall include citations to the

applicable Federal Rules of Evidence. The parties shall also exchange on November 23, 2021

statements of the facts that they consider to be admitted and that require no proof, the facts that

the parties contend remain to be litigated, the issues of law that the parties contend remain to be

litigated, and what each party intends to prove in support of their claims and/or defenses, including

the details of the damages claimed or of other relief sought.            Any final designations for

completeness and/or objections to counter-deposition designations shall be exchanged no later than

December 10, 2021. The parties shall meet and confer regarding any issues relating to the pretrial

exchanges before filing a proposed pretrial order.

          7.        Motions in Limine. Motions in limine shall be filed and served on December 3,

2021. Opposition papers shall be filed and served on December 17, 2021. No party shall serve or

file a reply related to motions in limine.

          8.        Proposed Pretrial Order. Pursuant to Local Rule 7016-2(d), Plaintiffs shall file a

proposed pretrial order agreed to by the parties no later than December 22, 2021. The parties shall




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meet and confer in good faith so that Plaintiffs may file the proposed pretrial order in conformity

with Local Rule 7016-2.

          9.        Pretrial Conference. A final pretrial conference in accordance with Local Rule

7016-2(a) is January 6, 2022.

          10.       Joint Pretrial Memorandum. The parties shall comply with the General Order

Governing Pretrial Procedures in Adversary Proceedings Set for Trial Before Judge Laurie Selber

Silverstein. The parties shall file, no later than five (5) business days prior to the date set for Trial,

their Joint Pretrial Memorandum approved by all counsel and shall contemporaneously deliver two

(2) copies thereof to Judge Silverstein’s chambers.

          11.       Trial. Trial will begin on January 19, 2022.

          12.       The parties intend that the Order Approving Confidentiality Agreement and

Stipulated Protective Order (ECF Doc. 810) will apply in this Adversary Proceeding.




        Dated: August 9th, 2021                          LAURIE SELBER SILVERSTEIN
        Wilmington, Delaware                         4   UNITED STATES BANKRUPTCY JUDGE

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